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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

 GEORGE STEWART, on behalf of himself and
 others similarly situated,

         Plaintiffs,

 v.                                                              Case No. 5:23-CV-00007-H

 TEXAS TECH UNIVERSITY HEALTH
 SCIENCES CENTER, et al.,
      Defendants.



  ORDER GRANTING DEFENDANTS THE UNIVERSITY OF TEXAS AT AUSTIN,
JAY HARTZELL, CLAUDIA LUCCHINETTI, STEVE SMITH, AND JOEL DABOUB’S
                MOTION FOR TEMPORAY ABATEMENT



       Before the Court is a Motion for Temporary Abatement filed by defendants the University of

Texas at Austin, Jay Hartzell, Claudia Lucchinetti, Steve Smith, and Joel Daboub (the “UT Austin

Defendants”). Upon due consideration of the motion, the Court finds the following.

       _______ The UT Austin Defendants’ Motion for Abatement is meritorious and is hereby

GRANTED. IT IS THEREFORE ORDERED that this case will be temporarily abated pending the

U.S. Supreme Court’s resolution of Students for Fair Admissions v. University of North Carolina,

et al. (No. 21-707) and Students for Fair Admissions v. President & Fellows of Harvard College

(No. 20-1199). All deadlines set to occur during the period of abatement under the Federal Rules

of Civil Procedure will be reestablished pursuant to further orders of the Court when the case is

reinstated by the Court.




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    SIGNED on this the __________ day of ___________________, 2023.




                                     HONORABLE JAMES WESLEY HENDRIX
                                     United States District Judge




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